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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

UNITED STATES OF AMERICA

v.                                                       No. 4:20-CR-244-O

DERRICK DAEYON MURRELL (01)

                           GOVERNMENT=S NOTICE REGARDING
                            ACCEPTANCE OF RESPONSIBILITY

        The United States of America files this Government=s Motion Regarding

Acceptance of Responsibility, pursuant to USSG § 3E1.1(b), and would show as follows:

        If the Court determines that the Defendant is entitled to a reduction for Acceptance

of Responsibility, and that his offense level is 16 or greater, the Government moves that

the Defendant receive an additional third point reduction for Acceptance of

Responsibility, pursuant to USSG § 3E1.1(b), because the Defendant has assisted

authorities in the investigation or prosecution of his own misconduct by timely notifying

authorities of his intention to enter a plea of guilty, thereby permitting the government to

avoid preparing for trial and permitting the government and the court to allocate their

resources efficiently.




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                                           Respectfully submitted,

                                           ERIN NEALY COX
                                           UNITED STATES ATTORNEY


                                           s/ Shawn Smith
                                           SHAWN SMITH
                                           Assistant United States Attorney
                                           State Bar of Texas No. 24033206
                                           801 Cherry Street, Suite 1700
                                           Fort Worth, Texas 76102
                                           Telephone: 817-252-5200
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on October 20, 2020, I electronically filed the foregoing
document with the clerk for the U.S. District Court, Northern District of Texas, using the
electronic case filing system of the court. The electronic case filing system sent a ANotice
of Electronic Filing@ to the following attorney of record who has consented in writing to
accept this Notice as service of this document by electronic means: William Cox, III,
counsel for defendant.

                                           s/ Shawn Smith
                                           SHAWN SMITH
                                           Assistant United States Attorney




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